 

 

Certificale Number: 12459-WAW-CC-036336985

FAUCET

2450-WAW-CC-O363 OBS

 

 

CERTIFICATE OF COUNSELING

I CERTIFY that on February 17. 2022, at 11:19 o'clock AM PST, Karie Simmons
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. § ITI to provide credit counseling in the Western District of Washington,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
} $$ 109(h) and 111.

 

| A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

| This counseling session was conducted by internet.

Date: February 17, 2022 By: /s/Leigh Miller

Name: Leigh Miller

 

 

 

 

 

 

 

Tite: Credit Counselor
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| * Individuals who wish to file a bankruptcy case under title L1 of the United States Bankruptey
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counscling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
I credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b),

 

 

 

a RN RUN

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